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 9        IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

10                                             CALIFORNIA

11
                                                       Case Number: 10-CR-0042 MCE
12   THE UNITED STAES OF AMERICA
                                                       STIPULATION AND NUNC PRO TUNC
13   V.                                                ORDER TO DETAIN DEFENDANT
14

15   JAMES LEROY JOHNSON

16

17

18          In the matter at bar Defendant James Leroy Johnson respectfully requests that the Court
19   issue an order revoking his pretrial release status and that the Court issue that order nunc pro
20   tunc. I have spoken with AUSA Jason Hitt and Pretrial Services Officers Beth Baker and Taifa
21   Gaskins and the parties stipulate as follows:
22   1. Defendant James Leroy Johnson was previously released by order of the Hon. Kimberley J.
23   Mueller on 1/28/101;
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25   1
       As the Court is undoubtedly aware Judge Mueller was sitting as a Magistrate
     Judge during all 2010 dates relevant to this issue.

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 1   2. On June 11, 2010 Defendant was arrested and booked into Sacramento County Jail on a new

 2   offense, Sacramento County Superior Court case10F03884 People v. James Johnson ;

 3   3. On June 11, 2010 Pretrial Services Officers Taifa Gaskins and Beth Baker caused a warrant
 4   request to be sent to Judge Mueller, which Judge Mueller has executed2;
 5   4. No further action was ever taken on the warrant. No detention hearing has ever been held;
 6   5. As a result, Defendant has not been "in Federal Custody" during the period beginning 6/11/10
 7   until the present despite being in custody the entire time. Further, if Defendant had posted the
 8   $10,000 State court bail he would not have been released. Rather, he would have then been
 9
     subjected to the Federal warrant and brought before a Magistrate;
10
     6. Defendant has not himself done anything to avoid the process of the Court;
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            Therefore, in order to avoid an unjust and undesirable result (loss of over two years
13
     custody credit), the parties stipulate that Defendant James Johnson's release status pursuant to
14
     case 10-CR-0042 MCE be changed to "detained" and that the appropriate start date for that
15
     detention is the June 11, 2010 date referred to above.
16

17   DATED: July 25, 2012                                         BENJAMIN WAGNER
                                                                  United States Attorney
18                                                                by /s/ Olaf W. Hedberg, for
                                                                  Jason Hitt
19                                                                Assistant U.S. Attorney
     DATED: July 25, 2012
20
                                                                  by /s/ Olaf W. Hedberg
21                                                                Olaf W. Hedberg
                                                                  Counsel for JAMES JOHNSON
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24   2
       Defendant directs the Court's attention to Defendant's Sacramento County
     Online Information, attached hereto as Exhibit "A". The existence of the
25   Federal warrant is reflected in the "Federal Hold" notation in the
     "Charges/Bail" section.

                                                      2
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 1

 2                                              ORDER

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 4           It is the Order of the Court that in case 10-CR-00042 Defendant James Leroy Johnson be
 5   ordered DETAINED and that said order be issued NUNC PRO TUNC to the date of JUNE 11,
 6   2010.
 7           IT IS SO ORDERED.
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             Dated: July 26, 2012
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11
                                                         /s/ Gregory G. Hollows
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                                                        ______________________________
13                                                           Hon. Gregory G. Hollows
                                                        United States Magistrate Judge
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